                                            OFFICE OF THE CLERK

 PATRICIA S. DODSZUWEIT           UNITED STATES COURT OF APPEALS                     TELEPHONE
                                       21400 UNITED STATES COURTHOUSE               215-597-2995
         CLERK                                601 MARKET STREET
                                          PHILADELPHIA, PA 19106-1790
                                      Website: www.ca3.uscourts.gov




                                             July 12, 2024

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Brian C. Frontino, Esq.               John P. Lavelle Jr., Esq.
Jonathon P. Hauenschild, Esq.         Matthew D. Klayman, Esq.
Noel H. Johnson, Esq.                 Linda A. Kerns, Esq.

RE: The Public Interest Legal Foundation v. Secretary Commonwealth of
Pennsylvania, et al.
Case Number: 23-1590/23-1591/23-3045
District Court Case Number: 1-19-cv-00622

Dear Counsel:

The above-entitled case(s) has/have been tentatively listed on the merits for Tuesday,
September 10, 2024, in PHILADELPHIA, PA. It may become necessary for the panel to
move this case to another day within the week of September 09, 2024. Counsel will be notified
if such a change occurs.

The panel will determine whether there will be oral argument and if so, the amount of time
allocated for each side. (See Third Circuit Internal Operating Procedures, Chapter 2.1.)
Approximately 18 calendar days prior to the first day of the panel sitting, you will be advised
whether oral argument will be required, the amount of time allocated by the panel, and the
specific date on which argument will be scheduled.

Counsel shall file an acknowledgment form within seven (7) days from the date of this letter,
and advise the name of the attorney who will present oral argument. In addition, please indicate
whether or not s/he is a member of the bar of this Court. Bar membership is not necessary if
counsel represents a U.S. government agency or officer thereof or if the party is appearing pro
se. If the attorney is not a member of the bar of this Court, an application for admission should
be completed, which should be returned to this office without delay.
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The hyperlinks for access to the acknowledgment form, application for admission, and
appearance form are provided for your convenience, and are also available on the Third Circuit
website. Please file your completed acknowledgment form through CM/ECF.

Counsel are also asked to update their CM/ECF account with a cell phone number if one is not
already included. Such information will not be publicly accessible and will be used if necessary
to contact counsel expected to appear for oral arguments.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk


By:
Patrick A. McCauley, Jr.,
Calendar Clerk
267-299-4932
